                      IN THE UNITED STATES DISTRICT
                    COURT FOR THE NORTHERN DISTRICT
                       OF ILLINOIS, EASTERN DIVISION


  ROADGET BUSINESS PTE. LTD., a private
  limited company organized in the
  country of Singapore,

                      Plaintiff,                 No. 24-cv-4935

         v.                                      Honorable Manish S. Shah

  THE INDIVIDUALS, CORPORATIONS,
  LIMITED LIABILITY COMPANIES,
  PARTNERSHIPS, AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE A
  HERETO

                      Defendants.


               (AGREED) DEFENDANTS’ MOTION FOR EXTENSION
               TO FILE RESPONSE TO PRELIMINARY INJUNCTION
                                 MOTION
         NOW COME Defendant Nos. 1, 2, 4, 5, 9, 11, 12, 13, 14, 15, and 16,

respectively, Yohad, VolcanoPJ, Happy Sleeping, AINK, UNYS, The One Queen,

TMayfzc, jin Wang, March th, Shenghong Pajama Clothing Store, and MOKAJUN

(“Defendants”), through counsel, and request a seven-day extension to file their

response to Plaintiff’s Motion for Preliminary Injunction. In support, Defendants state

as follows:

     1. The Plaintiff filed its Motion for Preliminary Injunction on July 8, 2024. Doc.

         29.

     2. The Court subsequently set a briefing schedule on the Motion. Doc. 33

     3. The Defendants’ Response is currently due July 22, 2024. Doc. 33

     4. The Defendants now request a seven-day extension from the July 22 due
        date, until July 29, 2024.

     5. The undersigned counsel contacted counsel for the Plaintiff regarding this

        extension, and Plaintiff does not object.

     6. Accordingly, the Defendants respectfully request the Court grant the

        Defendants a seven-day extension to file their response.

     WHEREFORE, for the foregoing reasons, the Defendants respectfully request this

Honorable Court enter an Order: Extending the date on which their response to

Plaintiff’s Motion for Preliminary Injunction is due 7 days to July 29, 2024.


July 19, 2024                    Respectfully submitted,


                                 s/ Christopher Keleher

                                 Christopher Keleher
                                 The Keleher Appellate Law Group, LLC
                                 1 East Erie St., Suite 525
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                                 312-448-8491
                                 ckeleher@appellatelawgroup.com
                           CERTIFICATE OF SERVICE

     The undersigned attorney hereby certifies that on July 19, 2024, a true and

correct copy of the foregoing document was filed electronically with the Clerk of the

Court and served on all counsel of record.

       Respectfully submitted,

       s/ Christopher Keleher

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